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 Fill in this information to identify your case:

 Debtor 1                 Joel Council
                          First Name                        Middle Name              Last Name

 Debtor 2                 Maria Victoria Council
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           19-06189
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         AUTO MONEY                                           Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2014 KIA SOUL                                      Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         BRAESAEL MANAGEMENT                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of DEBTORS RESIDENCE-5076                                   Reaffirmation Agreement.
    property       TIMBER FALLS DRIVE, FORT                                 Retain the property and [explain]:
    securing debt: MILL SC 29707                                           Debt to be addressed by Streamline Loan
                                                                          Modification


    Creditor's         LVNV FUNDING                                         Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       DEBTORS RESIDENCE-5076                             Reaffirmation Agreement.
                         TIMBER FALLS DRIVE, FORT

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 Debtor 2      Maria Victoria Council                                                                 Case number (if known)    19-06189

    property            MILL SC 29707                                       Retain the property and [explain]:
    securing debt:                                                        avoid lien using 11 U.S.C. § 522(f)


    Creditor's     REAL TIME RESOLUTION                                     Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of DEBTORS RESIDENCE-5076                                   Reaffirmation Agreement.
    property       TIMBER FALLS DRIVE, FORT                                 Retain the property and [explain]:
    securing debt: MILL SC 29707                                          avoid lien using 11 U.S.C. § 522(f)


    Creditor's     SELECT PORTFOLIO SERVICING                               Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of DEBTORS RESIDENCE-5076                                   Reaffirmation Agreement.
    property       TIMBER FALLS DRIVE, FORT                                 Retain the property and [explain]:
    securing debt: MILL SC 29707                                          Debt to be addressed by Streamline Loan
                                                                         Modification

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes



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 Debtor 2      Maria Victoria Council                                                                Case number (if known)   19-06189

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Joel Council                                                             X /s/ Maria Victoria Council
       Joel Council                                                                    Maria Victoria Council
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        August 31, 2020                                                  Date    August 31, 2020




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